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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D. *
Plaintiff z
= Case No. 23-cv-7296
VERSUS
Judge Nannette J. Brown

MICHAEL WRIGHT, in his individual and

official capacities, JACLYN HOTARD, in her

individual and official capacities, and

ST. JOHN THE BAPTIST PARISH;
Defendants.

Magistrate Judge Karen W.
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DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFE’S MOTION FOR
PARTIAL SUMMARY JUDGMENT

NOW INTO COURT, through undersigned counsel, come Defendants, Michael Wright,
in his individual and official capacities, Jaclyn Hotard, in her individual and official capacities,
and St John the Baptist Parish, (hereinafter collectively referred to as “Defendants”), who
respectfully submit their Memorandum in Opposition to Plaintiff, Joy Banner, Ph.D.’s Motion for
Partial Summary Judgment.

It is clear that genuine issues of material fact exists and therefore, summary judgment
would be improper. As more fully set forth below, Defendants respectfully request that

Plaintiff’s Motion for Partial Summary Judgment be denied.

I PERTINENT FACTS

This lawsuit stems from off-topic comments made by the Plaintiff, Joy Banner, Ph.D.
during the public comment period at the November 28, 2023 St. John the Baptist Parish Council
Meeting wherein she violated Louisiana’s Board of Ethics’ confidentiality law by publicly

commenting on the contents of an ethics complaint she filed against Parish President Jaclyn

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Hotard: at the time the Plaintiff made the public comment, the ethics complaint was still under
investigation and she did not received any permission from Parish President Hotard, (the target of
said investigation), to speak publicly on the matter. '

As the Joint Stipulated Parish Council Meeting video and transcript shows, Plaintiff was
allowed to speak over five minutes during the meeting’s public comments period; furthermore, she
voluntarily stopped speaking and left the lectern on her own volution; she was not escorted out nor
forcibly removed from the lectern.”

Additionally, as the Joint Stipulated Parish Council Meeting video and transcript
demonstrated, Plaintiff approached the lectern and purported to speak on the Parish Council
Meeting Agenda “J” Item, which was a general agreement to retain special counsel to perform
services related to ethics laws not about a specific ethics complaint; additionally, the legal services
of R. Gray Sexton were up for consideration for more than one ethical complaint.?

However, instead of staying on topic— about whether she was for or against the hiring that
law firm— the Joint Stipulated Parish Council Meeting video and transcription shows that the
Plaintiff Joy Banner, Ph. D., decided to publicly comment on the contents of the ethics complaint

she filed against Parish President Hotard. *

Parish President Jaclyn Hotard testified, during her deposition, that the contents of the

ethics complaint against her was_not on the agenda; the agenda item “J” was just about voting on
whether to retain a special ethics attorney for ethics issues the public body faced, which may

include more than one outstanding ethics complaints. °

' Ree. Doc. 39-5, pp. 100- 101; Deposition Transcript of Defendant. Council President Jaclyn Hotard.

> Rec. Doc. 43 and 43-1, pp.9. Joint Stipulation of All Partics Regarding Meeting Transcript.

* Ree. Doc. 39-4, pp. 29. Deposition Transcript of Defendant, Council Chairman Michael Wright: a/so see Rec. Doc.
39-5, pp. 55, 91; Deposition Transcript of Defendant, Council President Jaclyn Hotard.

1 Rec. Doc. 43-1, pp. 4-8; Joint Stipulation of All Parties Regarding Meeting Transcript.

° Rec. Doc. 39-5, pp. 55, 91: Deposition Transcript of Defendant. Council President Jaclyn Hotard.

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Moreover, Parish President Jaclyn Hotard testified that her name was next to Agenda Item
“J” not because she was the alleged subject of the agenda item but because St. John the Baptist
Parish’s Home Charter designates the Council President as the chief elected official in charge of
the day to day operations and therefore, since she is the current Council President, her name is and
will be on most of the agenda items, as a sponsor. °

In addition to not staying on topic to the agenda item she purported to comment on,
Defendants reasonably and in good faith believed that Plaintiff Joy Banner, Ph.D.’s public
comment was in violation of state law when she publicly spoke about the contents of an ethics
compliant she filed against Council President Hotard. Plaintiff's public comment at the November
28, 2023, Parish Council Meeting included factual contents of her Louisiana Board of Ethics
complaint against Council President Jaclyn Hotard; however, Council President Jaclyn Hotard had
not given the Plaintiff permission to speak publicly about the Louisiana Board of Ethics complaint
against her. ”

Furthermore, Council President Jaclyn Hotard, during many previous council ethics issues
had been warned by the Louisiana Ethics Board’s Administrator that she could not discuss ethics
complaints prior to them deciding whether they are moving forward, that it was a violation of state
law to discuss an ethics complaint, that a statute had been provided previously to her by the
Louisiana Ethics Board, and that in her experience regarding previous ethics complaints received
against parish members, there has always been a cloak of confidentiality that is stated on the

correspondence indicating that she is not allowed to disclose the existence of that ethics

investigation.

° Ree. Doc. 39-5, pp. 20 and 54: Deposition Transcript of Defendant, Council President Jaclyn Hotard.
* Rec. Doc. 39-5, pp. 100- 101. Deposition Transcript of Defendant. Council President Jaclyn Hotard.

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Likewise, regarding the subject ethics complaint in this suit, Council President Jaclyn
Hotard had been advised by the Louisiana Board of Ethics that the investigation was
confidential, not to be discussed by anyone publicly, other than by the person who is the subject
of the investigation or complaint, (or if permission was given by that same person), and it was
under that same directive and law that she expressed that Plaintiff Joy Banner, Ph. D. was in
violation of same. ®

Finally, Parish Council Chairman Michael Wright’s, job as the Parish Council Chair, is to
make sure comments stay on agenda items and maintain order and decorum.’ Therefore, when he
took the floor, banged the gavel and cited the same law given by the Louisiana Board of Ethics,
both Parish Council Chairman Michael Wright and Parish Council President Jaclyn Hotard had
reasonably relied on information given to them that the Plaintiff's comments were in violation of

state law and in good faith, advised her, the rest of the council, and the public of same.

I. LAW AND ARGUMENT
A. ar men n
Federal Rule of Civil Procedure 56 provides that summary judgment is appropriate “if the
movant shows that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.”!° As a general rule, the moving party has the initial burden to prove
that there are no issues of material fact, but may discharge this burden by citing to materials in the
record, including “depositions, documents, electronically stored information, affidavits or

declarations, stipulations . . . admissions, [and] interrogatory answers,” that establish the absence

® Rec. Doc. 39-5, pp. 93-94; 97; Deposition Transcript of Defendant. Council President Jaclyn Hotard.

? Rec. Doc. 39-4, pp. 42; Deposition Transcript of Defendant, Council Chairman Michael Wright.

Fed. R. Civ. P. 56(a): see also Celotex Corp. v. Catrett, A77 U.S. 317, 322-23, 106 S. Ct. 2548, 91 L.Ed.2d 265
(1986): Poole  Citv of Shreveport, 691 F.3d 624. 627 (Sth Cir, 2012).

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of a genuine dispute, or showing the absence of evidence necessary to support an essential element
of the nonmoving party’s case.'!! The burden then shifts to the nonmoving party, who must, by
submitting or referring to evidence, set out specific facts showing the existence of a genuine issue
of material fact.!?

The facts and inferences drawn are from the facts must be viewed in the light most
favorable to the nonmoving party. Abeita v. TransAmerica Mailings, Inc. 159 F.3d 246, 250 (6"
Cir. 1998)(citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587(1986).

A genuine issue for trial exists if, “evidence is such that a reasonable jury could return a
verdict for the nonmoving party.’ Anderson v. Liberty Lobby, Inc. 477 U.S. 242, 248 (1986). Once
a moving party produces evidence establishing lack of a genuine issue of material fact, the non-
moving party must ‘set forth specific facts showing that there is a genuine issue for trial.” Jd. The

mere existence of a “scintilla of evidence” in support of a plaintiff's position is not sufficient to

create a genuine issue of material fact. Anderson, 477 U.S. at 252.

B. Plaintiff is not entitled to Partial Summary Judgment as a matter of law because
there are genuine issues of material fact that would make Summary Judgement

Improper

Summary judgment is appropriate only where the pleadings, depositions, answers to
interrogatories, and admissions on field, together with the affidavits, if any, show there is no
genuine issue of material fact and that the moving party is entitled to judgment as a matter of
law. Lillie v. Liquid Air Corp., 37 F. 3d 1069, 1075 (5" Cir, 1994).

Notably, "(a) genuine issue of a material fact exists, '[i]f the evidence is such that a

" Fed. R. Civ. P. 56(c)(1).
2 See Celotex Corp. v. Catrett, 477 U.S. 317, 321-22 (1986): Floors Unlimited. Inc. v. Fieldcrest Cannon. Inc., 55
F.3d 181, 184 (5th Cir. 1995): Fed. R. Civ. P. 56(e).

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reasonable jury could return a verdict for the nonmoving party." Pylant v. Hartford Life and
Accident Insurance Company, 497 F. 3d 536, 538 (5th Cir. 2007). All reasonable factual
inferences are drawn in favor of the nonmoving party. Galindo v. Precision American Corp.,754
F. 2d 1212, 1216 (5" Cir. 1985).
However, this partial summary judgement is not proper since the facts in this case are still
disputed; Furthermore, Plaintiff's Statement of Undisputed Facts are not facts, but rather
arguments since she failed to produce any admissible evidence regarding any of her assertions.

1) Plaintiff cannot prove that Defendants violated Louisiana’s Open Meetings Law,
during their November 28, 2023 Parish Council Meeting since a Louisiana State
Court of Appeals has already ruled that they were within their rights under La. R.S.
42:14(D) when they set reasonable rules and restrictions during the public comment
period for the November 28, 2023 Parish Council Meeting—specifically regarding
the three (3) minutes allocated per person and restricting public comments for
agenda items only: therefore, Defendants were well within their rights to enforce
them

The Louisiana State Court of Appeals, Fifth Circuit, in Shondrell Perrilloux v. St. John the
Baptist Parish Government by and through its Parish Council of St. John the Baptist Parish, very
recently reversed a trial court’s ruling that St. John the Baptist Parish Council violated the Open’s
Meeting Law wherein a different plaintiff, (but regarding the same November 28, 2023, Parish
Council Meeting in question before this Honorable Court), argued that all speech should be
allowed during the public comment period at a public meeting. The State Fifth Circuit Court of
Appeals disagreed with the plaintiff in that case and instead sided with the defendant; it reversed
the trial court’s ruling in its entirety, dismissed that plaintiff's suit with prejudice at plaintiffs

costs. 13

13 See Rec. Doc. 62. Exhibit A, the Louisiana Court of Appeals, Fifth Circuit’s ruling in Shondrell Perrilloux v. St.
John the Baptist Parish Government by and through its Parish Council of St. John the Baptist Parish, No. 24-CA-
280, (October 18. 2024).

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The Perrilloux appeals court found that the testimony and the recorded council meetings,
(which includes this case's November 28, 2023 council meeting), showed that notice was given to
the public prior to the council meeting and during the council meetings, and “that everyone present
in the Council chambers was notified by the Chairman, orally and on the TV screens behind the

Council, that the public comment period was open, that if anyone desired to speak, they were to

approach the podium, and that each citizen would have three minutes to discuss agenda items
only.”!4 (emphasis added).

Furthermore, the Perrilloux appeals court specifically held that there was “no violation of
the Open Meetings Law occurred at the November 28...2023 meetings relative to the Council’s
duty under La. R.S. 42:14 (D) to provide a period of public comment, and set reasonable niles and
restrictions regarding the public comment period...the statute does not specify how the public
comment must be structured...except that it must be prior to voting on agenda items.”

Plaintiff failed to carry her burden of proof that would warrant summary judgment here;
Defendants, as stated by a Louisiana State Appeals Court, were well within their right, under the
Open Meetings Law to only allow public comments to be three (3) minutes long and confined to
agenda items only.

As stated by the Perrilloux appeals court, there are no specific statutory requirements in
structuring the public comment period; the Open Meetings Law just mandates that the public
body’s rules, regulations, and restrictions regarding public comments be reasonable and leaves the
specifications on how the comment period is to be implemented up to each public body. The

Defendants complied by creating reasonable rules and restrictions; it was properly noticed on the

'" Td. at pp. 7.

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agenda and published to the public; as well as posted on the board during the public hearing. The

Open Meetings Law does not require the rules to be codified, as Plaintiff seems to be arguing.

Additionally, the public comment requirement pursuant to La. Rev. Stat. §42:14(D) only
applies to public comments prior to action on an agenda item upon which a vote is to be taken. So,
while there is a right of free speech and assembly which is fundamental in our democratic society,
the Open Meetings Law does not require public bodies, when conducting meetings, to
allow everyone with opinions and beliefs to express themselves at any public place or at any
time. In fact, the intent of the Open Meetings Law is not to give the public a chance to address the
public body on issues unrelated to agenda items; as La. Rev. Stat. §42:14(D) generally applies to

agenda items only. }°

Here, the agenda item “J”, at November 28, 2023 Parish Council Meeting was about a
general agreement to retain special counsel to perform services related to ethics laws not about a
specific ethics complaint; additionally, the legal services of R. Gray Sexton were up for
consideration for more than one ethical complaint. !°

However, Plaintiff went instead off -topic, from any agenda item, when she publicly
launched into the contents of an ethical complaint she filed against Parish Council President
Howard— which was not on the agenda; public comments period at a public meeting 1s not a free
for all; and public bodies have a right - a duty- under the Open Meetings Law - to maintain order
and decorum during public meetings.

Therefore, Parish Council Chairman Michael Wright was well within the mandate of the

Open Meetings Law to try to reign in Plaintiff's comments to agenda items only, there was no

'S dity. Gen. Op. 01-394.

'© Ree. Doc. 39-4, pp. 29. Deposition Transcript of Defendant, Council Chairman Michael Wright; also see Rec. Doc.
39-5. pp. 55, 91. Deposition Transcript of Defendant, Council President Jaclyn Hotard.

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violation of the Open Meetings Law when he interrupted, banged on the gavel, and took back the
floor— all in trying to bring order and decorum and to get Plaintiff to comment about an agenda
item—per the Parish Council’s publicly noticed rules and restrictions regarding the public
comments period. Therefore, there was no violation of the Open Meetings Law and summary

judgment is not warranted.

2) Plaintiff cannot prove that Defendants violated Louisiana’s Open Meetings Law
during their November 28, 2023 Parish Council Meeting since the evidence shows that
Plaintiff was allowed to participate in the public comment period; Plaintiff was able
to speak for over five (5) minutes, was able to finish what she had to say, voluntarily
stopped speaking and walked away from the lectern all before any action was taken
on Agenda Item, “J”

As aforementioned, Plaintiff was off - topic during the public comment period of the
November 28, 2023 Parish Council Meeting; she kept commenting publicly about the contents of
an ethical complaint she filed against Parish Council President Hotard instead of staying on topic
with an agenda item; Parish Council] Chairman Michael Wright tried to bring order and decorum
back to the public meeting by interrupting Plaintiff, banging on the gavel, and taking the floor back

no avail.

However—despite Plaintiff’ s failure to abide by the highly publicized rules and restrictions
of the public comments period— to stay on topic— Plaintiff was never removed from the lectern;
the joint stipulated video and transcript of the November 28, 2023 shows that Plaintiff had a
full opportunity to participate at meeting’s public comments period. Plaintiff was able to speak
for over five (5) minutes; she got to finish what she had to say, voluntarily stopped speaking, and
walked away from the lectern. She was never kicked out or prevented from attending the Parish
Council Meeting. Since Plaintiff cannot prove an Open Meetings Law violation and there are

issues of material fact summary judgment is not proper here.

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3) Defendants Parish Council Chairman Michael Wright and Parish Council President
Jaclyn Hotard had a right to interrupt Plaintiff's public comment since she was off topic
and they reasonably relied on information given to them that Plaintiff was violating state
law when Plaintiff publicly commented on the contents of an ethical complaint she filed
against Parish Council President Hotard

Finally, Plaintiff failed to offer any affidavits, deposition testimony, or other competent
evidence showing that Parish Council Chairman Michael Wright and Parish Council President
knowingly and/or willfully participated in the unlawful meeting.

As already mentioned, during the public comment period of the November 28, 2023 Parish
Council Meeting, the evidence shows that Plaintiff was publicly commenting on an ethics
complaint she filed against Council President Hotard.

Furthermore, Council President Jaclyn Hotard had been advised by the Louisiana Board of
Ethics that the investigation was confidential, not to be discussed by anyone publicly, other than
by the person who is the subject of the investigation or complaint, (or if permission was given by
that same person), and it was under that same directive and law that she expressed that Plaintiff
Joy Banner, Ph. D. was in violation of same.'” Plaintiff’s public comment at the November 28,
2023 Parish Council Meeting included factual contents of her Louisiana Board of Ethics complaint
against Council President Jaclyn Hotard; however, Council President Jaclyn Hotard had not given
the Plaintiff permission to speak publicly about the Louisiana Board of Ethics complaint against
her.!®

Therefore, Council President Hotard had a good faith basis to believe and to reasonably
rely on the information given to her by the Louisiana Board of Ethics regarding laws involving

ethics complaints and the confidentiality nature of them; based on that advice and information,

Parish Council President Hotard and Parish Council Chairman Wright acted accordingly.

'T Ree, Doc. 39-5. pp. 93-94: 97: Deposition Transcript of Defendant, Council President Jaclyn Hotard.
'S Rec. Doc. 39-5. pp. 100- 101: Deposition Transcript of Defendant. Council President Jaclyn Hotard.

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Moreover, Defendants assert that there was nothing illegal about the November 28, 2023
Parish Council; However, if this Honorable Court believes otherwise, then Defendants assert that
they did not knowingly or willingly participate in an illegal public meeting. Plaintiff failed to cite
to any facts or evidence to demonstrates otherwise; she even cited to caselaw wherein acting upon
legal advice negates the required knowingly or willfully.’

I. CONCLUSION

Based on the aforementioned, Defendants pray that Plaintiff's Motion for Partial
Summary Judgment, be denied, at her expense.
Respectfully Submitted:

/s/ Ike Spears

IKE SPEARS, LSB #17811
909 Poydras Street, Ste. 1825
New Orleans, LA 70112
Telephone: (504) 593-9500
Telecopier: (504) 523-7766
E-mail :ikespears@gmail.com
Attorney for Defendants

CERTIFICATE OF SERVICE

I HEREBY CERTIFY the foregoing was served on attorney of record William Most via
electronic mail on December 3, 2024.

/s/ Ike Spears.
Ike Spears

9 See Rec. Doc. 77-1, pp. 8. Footnote 34.

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